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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT Lrpee arton’

  

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IN RE MATTHEWS & WRIGHT, INC., MUNICIPAL BONDS SECURTREN: left IpATTON
TRANSFER ORDER*®

This litigation consists of three actions pending in two districts
as follows: two actions in the Eastern District of Pennsylvania and
one action in the District of Arizona. Before the Panel is a motion,
pursuant to 28 U.S.C. §1407, brought by plaintiffs in the two
Pennsylvania actions seeking transfer of the Arizona action to the
Bastern District of Pennsylvania for coordinated or consolidated a
pretrial proceedings with the Pennsylvania actions pending there.
Presently, all responding parties either support or do not oppose the
motion.

On the basis of the papers filed ,2/ the Panel finds that these
three actions involve common questions of fact, and that
centralization under Section 1407 in the Eastern District of
Pennsylvania will best serve the convenience of the parties and
witnesses and promote the just and efficient conduct of the
litigation. All actions contain allegations of violations of federal
securities and racketeering laws committed by Matthews & Wright, Inc.,

Lo bond counsel, trustee banks and others in connection with the sale to
@:: public of supposedly tax-exempt municipal bonds. Centralization
_N nder Section 1407 is necessary in order to eliminate duplicative
discovery, prevent inconsistent pretrial rulings (particularly with
respect to overlapping class certifications sought in the three
actions), and conserve the resources of the parties, their counsel and
the judiciary.

While neither of the two forums in which constituent actions are
pending can be described as the nexus for this litigation, we are
persuaded that the Eastern District of Pennsylvania is the preferable
transferee forum. We note that: 1) two of the three actions are
pending there; 2) all responding parties support or do not object to
selection of the Pennsylvania district as transferee forum; and 3)
parties have represented that a related grand jury investigation is

 

% Judges Robert H. Schnacke and Fred Daugherty took no part in the
decision of this matter.

V The parties to this matter waived oral argument and, accordingly,
the question of transfer under Section 1407 was submitted on the
briefs. Rule 14, R.P.J.P.M.L., 89 F.R.D. 273, 283-84 (1981).

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@-..2-: way in Philadelphia -- centralization there would thus

facilitate coordination between the private actions and related
Government proceedings occurring there.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. §1407, the
action listed on the attached Schedule A and pending in the District
of Arizona be, and the same hereby is, transferred to the Eastern
District of Pennsylvania and, with the consent of that court, assigned
to the Honorable Daniel H. Huyett, 3rd, for coordinated or consoli-
dated pretrial proceedings with the actions pending in that district
and listed on Schedule A.

FOR THE PANEL:

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Andrew A. Caffrey r
Chairman

 
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SCHEDULE A

L-739 -- In re Matthews & Wright, Inc., Municipal Bonds Securities

Litigation
District of Arizona

Victorie S. Patterson v. Commercial Bank of the Americas, et al.
(formerly, Victorie S. Patterson v. United Bank of Arizona, et
al.), C.A. No. 87-1152-PHX-CAM

Eastern District of Pennsylvania

A. M. Zlotnick v. Commercial Bank of the Americas, et al.,
C.A. No. 87-3759

Florence Hitzig v. Matthews & Wright, Inc., et al.,
C.A. No. 87-4750
